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 1                                                   NOTE: CHANGES MADE BY COURT
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                                                                          JS-6
 7
                                IN THE UNITED STATES DISTRICT
 8
                  FOR THE CENTRAL COURT DISTRICT OF CALIFORNIA
 9
10    RICHARD R. DRUASH,                             Case No. 8:23-cv-00728-FWS-DFM
11                 Plaintiff,
                                                     ORDER RE NOTICE OF
12          v.                                       VOLUNTARY DISMISSAL [14]
13
14    EXPERIAN INFORMATION
15    SOLUTIONS, INC.,
16                 Defendant.
17
18          Having reviewed and considered the Notice of Voluntary Dismissal [14] (the
19    “Stipulation”), and good cause appearing, the court ORDERS the following:
20
21          The above-captioned action is DISMISSED WITHOUT PREJUDICE in its
22          entirety as to all parties and all claims for relief, with each party to bear its own
23          costs and attorney fees.
24
25          IT IS SO ORDERED.
26
27
      Dated: June 6, 2023                           __________________________________
28                                                  Hon. Fred W. Slaughter
                                                    UNITED STATES DISTRICT JUDGE
                                                  -1-
